Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 1 of 61




    EXHIBIT 2
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 2 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 3 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 4 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 5 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 6 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 7 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 8 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 9 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 10 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 11 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 12 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 13 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 14 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 15 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 16 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 17 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 18 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 19 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 20 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 21 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 22 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 23 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 24 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 25 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 26 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 27 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 28 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 29 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 30 of 61
Case 1:24-cv-03287-AT   Document 88-2   Filed 11/19/24   Page 31 of 61
     Case 1:24-cv-03287-AT         Document 88-2       Filed 11/19/24     Page 32 of 61




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         Case 1:24-cv-03287-AT                      Document 88-2            Filed 11/19/24      Page 33 of 61
                                                                                              [Translated from Russian]

               [Coat-of-arms of the Russian Federation]

                      Federal Service                                 Open Joint Stock Company
                   for Financial Markets                              “Krasnaya Polyana”
                     (FSFM of Russia)
                      Regional Office                                 14A Severnaya Street, City of Sochi, 354000
                   of the Federal Service
                   for Financial Markets
                  in the Prikuban Region
               (RO FSFM of Russia in PR)
              350020, Krasnodar, Dzerzhinsky St., 8/1,
                    Phone/Fax: +7 (861) 225-40-91
          E-mail: office@knd.fesm.ru; http://www.krd.ffms.ru
                        OGRN 1062309023655
                   INN/KPP 2309100283/230901001

       March 5, 2012, No. 18-12-BK-04/750
     Ref. No. ___________ dated __________

Notification of State Registration of the
Additional Issue of Securities of the Open
Joint Stock Company “Krasnaya Polyana”

     In accordance with the order of the RO FSFM of Russia in PR dated March 5, 2012,
No. 18-12-54/pz-i, state registration of the additional issue of common registered uncertificated
shares of the Joint-Stock Company “Krasnaya Polyana”, placed through closed subscription, has been
carried out.
     According to the resolution on the additional issue of securities submitted to the RO FSFM of
Russia in PR, the issuer is placing:
     Number of securities in the additional issue: 6,021 (six thousand twenty-one) units.
     Nominal value of each security in the additional issue: 50,000 (fifty thousand) rubles.
     Total issue volume (at nominal value): 301,050,000 (three hundred one million fifty thousand)
rubles.
     The issue (additional issue) has been assigned the state registration number 1-01-33085-E-006D
dated March 5, 2012.
     Additionally, please be informed that the RO FSFM of Russia in PR is not responsible for the
accuracy of the information contained in the resolution on the additional issue of securities.
     In accordance with Article 25 of the Federal Law dated April 22, 1996, No. 39-FZ "On the
Securities Market", no later than 30 days after the completion of the placement of the additional issue
of securities, the issuer is obliged to submit to the RO FSFM of Russia in PR a report on the results
of the additional issue of securities.
     Enclosed is the Resolution on the additional issue of common registered uncertificated shares of
the Joint-Stock Company “Krasnaya Polyana”, 11 pages, 2 copies.

Acting Head                                                    [Signature]                                   V.A. Kuts
Executor: I.S. Veselov, phone (861) 225-40-91
       Case 1:24-cv-03287-AT         Document 88-2        Filed 11/19/24      Page 34 of 61
                                                                           [Translated from Russian]

                                                                       Registered on March 5, 2012
                                                                         State Registration Number
                                                                                1-01-33085-E-006D

                                                                        RO FSFM of Russia in PR
                                                                               (name of the registering authority)
                                                               Acting Head V.A. Kuts [Signature]
                                                                              (signature of the authorized person)


                              [Round seal with the coat of arms of the Russian Federation, illegible]
                                                                         (official seal of the registering authority)




  RESOLUTION ON THE ADDITIONAL ISSUE OF SECURITIES

                          Open Joint Stock Company “Krasnaya Polyana”


             Common registered uncertificated shares with a nominal value of 50,000
          (fifty thousand) rubles each, in the amount of 6,021 (six thousand twenty-one)
                             units, placed through closed subscription

Approved by the resolution of the Board of Directors of Open Joint Stock Company “Krasnaya
Polyana” adopted on February 17, 2012. Protocol dated February 17, 2012, No. 112

on the basis of the decision to increase the authorized capital of the joint stock company by placing
additional shares,

adopted by the Extraordinary General Meeting of Shareholders of Open Joint Stock Company
“Krasnaya Polyana” on February 6, 2012. Protocol dated February 6, 2012, No. 53

Location of the issuer: 354000, Russian Federation, Krasnodar Krai, City of Sochi, Severnaya
Street, 14A
Contact phone numbers with intercity code: (8622)439110

CEO                   [Signature]                   S.F. Hatskevich

Date: February 17, 2012

[Round seal: Russian Federation, Krasnodar Krai, the city of
Sochi, Tsentralny District * State Registered Ownership
(GRP) No. 8347 / Open Joint Stock Company “Krasnaya
Polyana” * INN 2320102816]
         Case 1:24-cv-03287-AT           Document 88-2         Filed 11/19/24       Page 35 of 61
                                                                                 [Translated from Russian]

Type, Category (Class) of Securities:

Registered Shares
Category of Shares: Common

Common securities are not convertible.

2. Form of securities:

uncertificated

3. Indication of mandatory centralized storage

This item is completed only for certificated securities.

4. Nominal value of each security in the issue (additional issue) (in rubles):

50,000

5. Number of securities in the issue (additional issue) (in units):

6,021

6. Total number of securities of this issue previously placed (in units):

2,007

7. Rights of the holder of each security in the issue (additional issue):

7.1. For common shares, the exact provisions of the charter of the joint stock company regarding the
rights granted to shareholders by common shares must be indicated: the right to receive declared
dividends, the right to participate in the general meeting of shareholders with the right to vote on all
matters within its competence, the right to receive a portion of the company's property in the event of
its liquidation. Rights granted to shareholders in accordance with the provisions of the Charter:
Clause 8.1. All shares of the Company are common registered shares and are issued in uncertificated form. All
common shares of the Company have the same nominal value and grant the shareholders—their owners—the
same scope of rights.
Clause 8.2. Shareholders who own common shares participate in the General Meeting of Shareholders with
the right to vote on all matters within its competence, including the matter of distributing the Company's net
profits after mandatory payments to the Company's funds, settlements with the budget and off-budget funds,
and interest payments on bonds, and they are entitled to receive dividends.
Clause 8.3. Shareholders who own common shares participate in the distribution of the Company's assets in
the event of its liquidation, after settlements with creditors are completed.
Clause 8.7.1. A shareholder has the right to dispose of the shares they own without the consent of other
shareholders and the Company.
Clause 8.7.5. To receive a share of the net profit (dividends) to be distributed among shareholders in the
manner provided by the Federal Law "On Joint Stock Companies" and the Charter.


                                                                                                 Page 2 of 11
        Case 1:24-cv-03287-AT            Document 88-2          Filed 11/19/24       Page 36 of 61
                                                                                  [Translated from Russian]

Clause 8.7.6. To receive a portion of the Company's property (liquidation quota) remaining after the
Company's liquidation, in proportion to the number of shares of the corresponding category (type) owned by
the shareholder.
Clause 8.7.8. To exercise other rights provided by law, the Charter, and decisions of the General Meeting of
Shareholders, adopted in accordance with its competence.
Clause 8.9. The common shares of the Company are voting shares on all matters within the competence of the
General Meeting of Shareholders.
Clause 17.4. Shareholders (a shareholder) who collectively own at least 2 (two) percent of the Company's
voting shares have the right to propose items for inclusion in the agenda of the Annual General Meeting of
Shareholders and nominate candidates for the Company's Board of Directors, Audit Commission, and
Counting Commission, no later than 30 (thirty) days after the end of the financial year, provided that the
number of candidates does not exceed the number of positions in the respective body.
If the proposed agenda of an extraordinary General Meeting of Shareholders includes the election of members
of the Company's Board of Directors, shareholders (a shareholder) who collectively own at least 2 (two)
percent of the Company's voting shares have the right to nominate candidates for election to the Board of
Directors of the Company, provided that the number of candidates does not exceed the number of positions in
the Board of Directors. Such proposals must be submitted to the Company at least 30 (thirty) days before the
date of the extraordinary General Meeting of Shareholders.

The Charter does not provide for a limitation on the maximum number of votes held by a single shareholder.

7.2. Not applicable for this type of security.
7.3. Not applicable for this type of security.
7.4. Not applicable for this type of security.
7.5. Not applicable for this type of security.

8. Terms and procedure for the placement of the securities of the issue (additional issue):
8.1. Method of placement of securities: Closed subscription.
The circle of potential purchasers of securities (may also specify the number of securities allocated
to each of the indicated parties): 1) The Subject of the Russian Federation, Krasnodar Territory (OGRN
1022301619790), represented by the Regional State Public Specialized Institution “State Property Fund of
Krasnodar Krai”. The maximum number of additional common registered uncertificated shares that the
specified participant of the subscription can acquire is 1004 (one thousand four) shares.
2) Joint stock company “Zeeland Development Corp.,” registration certificate No. 1528745 dated April 17,
2009, registration body: Registrar of Companies of the British Virgin Islands (Tortola, British Virgin Islands).
The maximum number of additional common registered uncertificated shares that the specified participant of
the subscription can acquire is 1004 (one thousand four) shares.
3) Limited Liability Company KALEBA LIMITED, registration certificate No. HE 236939 dated August 28,
2008, registration body: Registrar of Companies (Nicosia, Cyprus). The maximum number of additional
common registered uncertificated shares that the specified participant of the subscription can acquire is 1004
(one thousand four) shares.
4) Limited Liability Company RAZAMA LIMITED, registration certificate No. HE 237225 dated September 02,
2008, registration body: Registrar of Companies (Nicosia, Cyprus). The maximum number of additional

                                                                                                   Page 3 of 11
        Case 1:24-cv-03287-AT             Document 88-2          Filed 11/19/24        Page 37 of 61
                                                                                    [Translated from Russian]

common registered uncertificated shares that the specified participant of the subscription can acquire is 1003
(one thousand three) shares.
5) Bilalov Akhmed Gadzhievich, Russian Federation citizen's passport 4507 No. 163596, issued on October
27, 2004, by the Passport and Visa Division of the Department of Internal Affairs of Zamoskvorechye District
of the city of Moscow. The maximum number of additional common registered uncertificated shares that the
specified participant of the subscription can acquire is 1003 (one thousand three) shares.
6) Private foundation “Eastern Investments Private Foundation,” registered in the Register of the Chamber
of Commerce of the island of Curaçao (Curaçao, Netherlands Antilles), registration number 115562 dated
December 06, 2006. The maximum number of additional common registered uncertificated shares that the
specified participant of the subscription can acquire is 1003 (one thousand three) shares.

8.2. Term of the placement of securities:

Procedure for determining the starting date of the placement: The starting date of the placement is the
day following the date on which notifications of the opportunity to exercise the preemptive right to acquire the
shares being placed through closed subscription are sent to persons with such a right.

Procedure for determining the end date of the placement: 85 days from the starting date of the placement
of securities, or if all the securities are placed before the expiration of this term, the placement is considered
completed on the date of placement of the last security of this additional issue.
The term of the placement of securities is determined by the dates for disclosing any information about the
securities issue.
Procedure for disclosing such information: Within 5 (five) days after the state registration of the additional
issue of the securities being placed, the Company sends notifications about the opportunity to exercise the
preemptive right to acquire the placed securities to the persons included in the list of persons entitled to
preemptive rights (hereinafter referred to as "preemptive right"). These notifications are sent by registered
mail.

8.3. Procedure for the placement of securities:

Procedure and conditions for concluding civil law contracts (procedure and conditions for submitting
and satisfying applications) during the placement of securities:
After the procedure for exercising preemptive rights is completed and the information on the results of
exercising preemptive rights is disclosed, the shares are transferred to the participants in the closed
subscription: 1) The Subject of the Russian Federation, Krasnodar Territory (OGRN 1022301619790),
represented by the Regional State Public Specialized Institution “State Property Fund of Krasnodar Krai”.
2) Joint-stock company "Zeeland Development Corp.," registration certificate No. 1528745 dated April 17,
2009, registration body: Registrar of Companies of the British Virgin Islands (Tortola, British Virgin Islands).
3) Limited Liability Company KALEBA LIMITED, registration certificate No. HE 236939 dated August 28,
2008, registration body: Registrar of Companies (Nicosia, Cyprus).
4) Limited Liability Company RAZAMA LIMITED, registration certificate No. HE 237225 dated September 02,
2008, registration body: Registrar of Companies (Nicosia, Cyprus
5) Bilalov Akhmed Gadzhievich, Russian Federation citizen's passport 4507 No. 163596, issued on October
27, 2004, by the Passport and Visa Division of the Department of Internal Affairs of Zamoskvorechye District
of the city of Moscow.
6) Private foundation “Eastern Investments Private Foundation,” registered in the Register of the Chamber
of Commerce of the island of Curaçao (Curaçao, Netherlands Antilles),
                                                                                                   Page 4 of 11
        Case 1:24-cv-03287-AT             Document 88-2          Filed 11/19/24        Page 38 of 61
                                                                                    [Translated from Russian]

registration number 115562 dated December 06, 2006.
Participants in the closed subscription are notified about the expiration of the preemptive right to acquire
securities, the number of securities that remain unallocated as a result of the exercise of the preemptive right
by the shareholders of the Company, and the opportunity for subscription participants to acquire the remaining
unallocated securities by sending registered letters to their addresses.
The placement of shares acquired by a limited circle of persons through a closed subscription is carried out
by concluding a contract for the acquisition of shares and submitting documents proving their payment.
The period during which the purchase and sale agreements of securities with participants of the closed
subscription are concluded begins from the day the notification is sent to the participants about the opportunity
to acquire additional shares and no later than 5 (five) business days before the end of the placement period.
Participants in the closed subscription, personally or through their authorized representatives with a properly
executed power of attorney or other documents confirming the representative’s authority, have the right to
submit to the Company a written application for the acquisition of the additional securities being placed,
starting from the day of the notification of the opportunity to acquire the remaining unallocated securities, and
no later than 5 (five) business days before the end of the placement period, at the following address: 354000,
Russian Federation, Krasnodar Krai, city of Sochi, Severnaya Street, 14A.
Applications are accepted on business days from 10:00 to 16:00.
The application must include the following details:
- The full name of the closed subscription participant (or full company name);
- The taxpayer identification number (INN) of the closed subscription participant (if applicable);
- The residence address (or registered office) of the closed subscription participant;
- For individuals: type, number, series, date, and place of issuance of the identity document, and the authority
that issued it;
- For legal entities: registration number (OGRN), date, and place of issuance of the certificate of state
registration of the legal entity, as well as the certificate of inclusion of the legal entity in the Unified State
Register of Legal Entities (if applicable);
- The number of securities to be acquired;
- The bank details of the closed subscription participant for any potential refunds.
The number of securities indicated in the application must not exceed the number of unallocated additional
securities remaining after the exercise of the preemptive right, and must also not exceed the maximum number
of additional shares specified for the participant in Clause 8.1 of the Resolution on the issuance of securities.
The application must be signed by the participant of the closed subscription (or their authorized representative,
with the original power of attorney or another document confirming the representative’s authority) and for
legal entities, it must include the company seal.
Applications are processed on a first-come, first-served basis. Applications submitted earlier are processed
first. The number of securities indicated in the application does not affect the priority of processing.
Applications are fully satisfied if the number of securities specified in the application does not exceed the
number of shares remaining unallocated after fulfilling earlier applications (hereinafter referred to as
"Unallocated shares"). If the volume of the application exceeds the number of Unallocated shares, the
application is satisfied only in the amount of Unallocated shares.
The signing of purchase and sale agreements for securities is carried out at the address: 354000, Russian
Federation, Krasnodar Krai, city of Sochi, Severnaya Street, 14A, on the day the participant of the closed
subscription or their authorized representative submits the application.
The application may be rejected if:
- The application does not contain the information required by this section of the Resolution on the additional
issuance of securities;
- The application is submitted in violation of the deadlines specified in this Resolution on the additional
issuance of securities;
                                                                                                     Page 5 of 11
        Case 1:24-cv-03287-AT             Document 88-2           Filed 11/19/24        Page 39 of 61
                                                                                     [Translated from Russian]

- There are no unallocated additional securities.
       After the purchase and sale agreement for the additional issuance of securities is signed by the parties,
the acquired securities must be fully paid for no later than 4 (four) business days before the end of the
placement period. The obligation to pay is considered fulfilled when the funds are credited to the Company’s
account as specified in this Resolution on the additional issuance of securities. If the payment obligation is not
fulfilled within the specified period or is partially fulfilled, the Company has the right to refuse to fulfill its
obligation to transfer the securities to the participant of the closed subscription.
If the amount of funds transferred to the Company in payment for the additional issuance of securities exceeds
the amount that was due, the excess amount must be refunded in a non-cash form no later than 5 (five) business
days after the end of the securities placement period. The refund is made using the bank details specified in
the application.
If no applications for the acquisition of a certain number of additional shares are received from participants
during the placement period, such shares remain unallocated.
A preemptive right to acquire securities is granted during the placement.

The securities are registered, and the register of their holders is maintained by the registrar.

The person to whom the issuer issues (or sends) the transfer order, which serves as the basis for
recording the securities to the first acquirer's account (the registrar, first acquirer), and other
conditions for issuing the transfer order: After the state registration of this additional issuance, the shares
are credited to the issuer’s issuance account, opened in the issuer’s shareholders register, maintained by LLC
"ReestrRN".
Registrar's location: 350911, Russian Federation, city of Krasnodar, Tramvainaya St., 1/1, office 608. Contact
phone: (861) 234-52-01.
FSFR of Russia license for maintaining the register No. 10-000-1-00330, issued on December 16, 2004, valid
indefinitely.
Transfer orders are executed:
- For shareholders exercising the preemptive right to acquire the securities placed, based on the submitted
application and the original document confirming full payment for the number of securities indicated in the
application;
- For participants in the closed subscription, based on the purchase and sale agreement, the document
confirming payment for the number of shares specified in the agreement, and if the participant's personal
account (account type - owner) or the nominee holder’s account exists in the register of the issuer’s registered
securities holders.
The transfer order is sent by the issuer to the registrar of the Company.
The registrar of the Company writes off the securities from the issuance account and credits them to the
purchaser's account within 3 (three) business days from receiving the necessary set of documents. Securities
are credited to the purchasers' personal accounts (depository accounts) in the issuer’s register of registered
securities holders:
- No later than on the last day of the preemptive right period for shareholders exercising the preemptive right;
- No later than on the last day of the placement period for participants in the closed subscription.

Securities are not placed via subscription through auction.

The issuer does not engage professional participants in the securities market to assist in placing securities.
                                                                                                   Page 6 of 11
        Case 1:24-cv-03287-AT             Document 88-2           Filed 11/19/24        Page 40 of 61
                                                                                     [Translated from Russian]

Simultaneously with the placement of securities, it is not planned to offer for acquisition, including outside the
Russian Federation through the placement of corresponding foreign securities, any previously placed (in
circulation) securities of the issuer of the same type or category. Shares, securities convertible into shares, and
options of the issuer will not be placed by the joint stock company via a closed subscription only among
shareholders, with the provision of an opportunity for the shareholders to acquire an integer number of the
placed securities proportional to the number of shares of the corresponding category (type) they own.

Securities will not be placed via a closed subscription only among the shareholders of the joint-stock company
with the provision of an opportunity for them to acquire a certain (limited) number of the placed securities.

8.4. Price(s) or method for determining the price of the placement of securities (in rubles): 6,270,000
The price for persons with a preemptive right (in rubles): 6,270,000

8.5. Procedure for exercising the preemptive right to acquire the placed securities.

The date on which the list of persons entitled to the preemptive right to acquire the placed securities is drawn
up: December 30, 2011

Notification procedure regarding the possibility of exercising the preemptive right to acquire the placed
securities: Within five (5) days after the state registration of the additional issue of the placed securities, the
Company shall send a "Notification of the Possibility of Exercising the Preemptive Right to Acquire the Placed
Securities" to persons included in the list of individuals entitled to the preemptive right to acquire the placed
shares (hereinafter referred to as the "Notification"). Notifications shall be sent to each person included in the
list of those entitled to the preemptive right via registered mail, as provided by the Company’s Charter for
notifications concerning the convening of the general meeting of shareholders.
The Notification of the possibility of exercising the preemptive right to acquire the placed securities shall
contain:
- Information about the number of securities being placed and their placement price;
- Instructions on how persons entitled to the preemptive right should submit applications for the acquisition of
the placed securities;
- The deadline by which the applications from persons entitled to the preemptive right to acquire the securities
must be received by the Company (hereinafter referred to as the "preemptive right period");
- A statement that the persons entitled to the preemptive right to acquire shares placed via closed subscription
are shareholders of the Company who did not participate in the vote or who voted against the adoption of the
resolution on the first item of the agenda “On Increasing the Authorized Capital of Open Joint Stock Company
‘Krasnaya Polyana’ by Placing Additional Shares via Closed Subscription and Amending the Charter of Open
Joint Stock Company ‘Krasnaya Polyana’” after the state registration of the report on the results of the
additional issue of securities at the extraordinary general shareholders' meeting held on February 6, 2012;
- Information that the list of persons entitled to the preemptive right to acquire the Company’s shares is based
on the data of the shareholders' registry as of December 30, 2011 (in accordance with paragraph 2 of Article
40 of the Federal Law "On Joint Stock Companies" as amended);
- A statement that a shareholder is entitled to acquire a number of securities in proportion to the number of
shares owned by them, based on the shareholder registry as of the date the list of persons was compiled
(December 30, 2011), and who had the right to participate in the general meeting of shareholders held on
February 6, 2012, during which the decision to place additional issue securities via closed subscription was
made;
- The procedure for determining the number of additional issue securities a shareholder is entitled to
                                                                                                     Page 7 of 11
        Case 1:24-cv-03287-AT              Document 88-2           Filed 11/19/24       Page 41 of 61
                                                                                     [Translated from Russian]

acquire: the maximum number of securities a shareholder can acquire is determined by the formula:
N = A x (6021/2007), where
N - the maximum number of issue securities a shareholder can acquire;
A - the number of issuer’s shares owned by the shareholder based on the shareholder registry as of the date
the list of persons entitled to participate in the general meeting of shareholders was compiled;
6021 - the total number of securities in this additional issue;
2007 - the total number of previously placed issuer’s shares.
- The payment deadline for the acquired shares;
- The address where applications for the acquisition of the Company’s shares should be submitted;
- Information that the payment for the acquired shares must be made in Russian rubles via wire transfer to the
Company’s settlement account with the following details:
Account holder: Open Joint Stock Company “Krasnaya Polyana”
Taxpayer Identification Number (INN): 2320102816, Tax Registration Reason Code (KPP): 232001001
Settlement account: 40702810700011521000
Credit institution:
Full corporate name: Open Joint Stock Company “National Business Development Bank”
Short name: OJSC "NBB"
Registered address: 115054, Moscow, Pyatnitskaya St., 67, bldg. 1
Bank Identification Code (BIC): 044552902
Correspondent account: 30101810800000000902
- A statement that the application for the acquisition of shares of the additional issue must be accompanied by
a document confirming payment for the shares;
- A statement that the form for the application to acquire the shares of this issue is attached to the Notification.

Procedure for exercising the preemptive right to acquire the placed securities: Shareholders of the
Company wishing to exercise the preemptive right to acquire securities of the issue must submit a written
application to the issuer for the acquisition of the additional issue securities no later than 45 days from the
start of placement. The application must be accompanied by the original document confirming payment for
the total number of securities specified in the application.

The application for the acquisition of securities from a legal entity must contain the following details:
- Full corporate name of the shareholder;
- Location and address of the shareholder for receiving mail;
- Number of securities the shareholder intends to acquire.
It is recommended that the application also includes:
- Date of registration of the legal entity, registration number, and name of the registering authority;
- Email address (if available), contact telephone number, fax number;
- Bank details of the shareholder's account, to which funds will be returned in case of overpayment for the
acquired securities, shareholder’s INN; signature of the shareholder or their representative (for individuals)
or the authorized person and the corporate seal (for legal entities).
In addition to the application, it is recommended to attach the following documents:
- A notarized copy of the certificate of state registration of the legal entity;
- A document confirming the authority of the head of the legal entity to act on behalf of the legal entity without
a power of attorney, as well as a power of attorney for the representative of the legal entity, if the application
is signed by the latter.
The address for submitting applications by Company shareholders during the period the preemptive right
                                                                                                     Page 8 of 11
        Case 1:24-cv-03287-AT             Document 88-2          Filed 11/19/24        Page 42 of 61
                                                                                    [Translated from Russian]

of acquisition of the issued securities, shareholders may submit a written Application for the acquisition of the
issued securities by mail or in person, attaching proof of payment for them: 354000, Russian Federation,
Krasnodar Krai, city of Sochi, Severnaya Street, 14A.
A shareholder has the right to fully or partially exercise their preemptive right. In doing so, the shareholder
may acquire the securities in a quantity proportional to the number of shares they own, based on the
shareholder registry data as of the date of the list of persons entitled to participate in the general meeting of
shareholders at which the decision to issue additional shares through a closed subscription was made.
If, when determining the number of securities a shareholder can acquire, a fractional number results, the
shareholder has the right to acquire a portion of the security corresponding to the fractional part of the
resulting number.
Payment for shares must be made in non-cash funds in rubles by transferring the full amount for the acquired
shares to the issuer’s bank account specified in the Notification. Applications are accepted on every working
day for 45 (forty-five) days from the start date of the offering. The Application must be accompanied by the
original proof of payment for the total number of securities specified in the Application.
The Company’s representative records the Applications for the acquisition of shares, noting the date and time
of receipt. Applications for the acquisition of shares and payment documents are accepted at the above-
mentioned address on every working day from 10:00 to 16:00.
If:
- The Application does not allow for the identification of the person on whose behalf it was submitted, or the
person submitting the Application does not have the right to acquire additional shares;
- The Application does not specify the number of shares being acquired;
The Company, within 3 (three) days from the date of receipt of such an Application, notifies the shareholder of
the impossibility of acquiring additional shares under the conditions specified in the Application, citing the
relevant reasons.
No later than the end of the Application acceptance period, the shareholder has the right to resubmit the
Application, correcting the reasons that prevented the exercise of their right to acquire additional shares.
If the shareholder’s Application contains a number of common shares of the additional issue less than the
number due to them, the Application is satisfied in full.
If the shareholder’s Application contains a number of common shares of the additional issue greater than the
number due to them when exercising their preemptive right, the Application for the acquisition of the issued
securities is satisfied for the number of securities the shareholder is entitled to acquire under the preemptive
right, and any excess funds paid will be refunded within 5 (five) working days.
A shareholder is deemed to have waived the acquisition of additional common shares if:
- The shareholder did not submit an Application for the acquisition of shares, or the Application was submitted
after the deadline;
- The shares were not paid for within the specified period.
The issued shares must be fully paid for by shareholders before entry into their personal accounts in the
shareholder registry system. However, entries into the acquirer’s personal accounts in the registry system
cannot be made later than the end of the period for placing the securities established for persons with
preemptive rights to acquire the issued securities.
Installment payments for the issued securities are not provided.
The period for submitting the Application and paying for shares for persons with preemptive rights to acquire
issued shares is 45 (forty-five) days from the day following the date of the Notification about the possibility of
exercising the preemptive right.
The period for exercising the preemptive right is 45 (forty-five) days from the day following the Notification
about the possibility of exercising the preemptive right to acquire the issued securities.
Until the preemptive right period expires, the issuance of securities by other means than through the exercise
of the preemptive
                                                                                                     Page 9 of 11
        Case 1:24-cv-03287-AT             Document 88-2          Filed 11/19/24        Page 43 of 61
                                                                                    [Translated from Russian]

right is not allowed.

Procedure for summarizing the results of the exercise of the preemptive right to acquire the issued securities:
Within 5 (five) days after the end of the preemptive right period, the issuer's Board of Directors summarizes
the results of the placement of shares during the exercise of the shareholders' preemptive right to acquire the
additional shares and determines the number of shares placed and those still subject to further placement.

Procedure for disclosing information about the results of the exercise of the preemptive right to acquire the
issued securities: No later than 2 (two) days after the results of the shareholders' exercise of the preemptive
right, the issuer discloses the results of the preemptive right exercise by posting the information on the
Company’s bulletin board, containing the results of the preemptive right exercise by shareholders with such
rights.

8.6. Conditions and procedure for paying for securities:

Payment must be made by monetary means.

The conditions and procedure for paying for securities: the decision on the offering stipulates payment in
cash in non-cash form.

Payment deadline: Payment for shares must be made before an entry is made in the personal account, but no
later than the end of the placement period.

Cash payments are not allowed.
Non-cash settlements are provided.

Form of non-cash payments: settlements via payment orders.

Information about the credit institution
Full corporate name: Open Joint Stock Company “National Bank of Business Development”
Abbreviated corporate name: OJSC “NBB”
Location: 115054, Moscow, Pyatnitskaya St., 67, building 1.
Bank account details to which the funds for the securities must be transferred: settlement
account 40702810700011521000, BIC 044552902, correspondent account 30101810800000000902.

Non-monetary payment methods are not provided.

8.7. The share percentage below which the securities (additional issue) offering is considered unsuccessful and
the procedure for returning funds transferred for the payment of the securities (additional issue) in the event of
it being deemed unsuccessful:

No minimum share percentage has been established for the offering to be considered successful.

9. Terms of redemption and payment of income on bonds:

This applies only to bonds.

10. Information about bond acquisition:
                                                                                                   Page 10 of 11
        Case 1:24-cv-03287-AT             Document 88-2          Filed 11/19/24        Page 44 of 61
                                                                                    [Translated from Russian]


This applies only to bonds.

11. Procedure for disclosure of information about the issuance (additional issuance) of securities by
the issuer:

In accordance with the Regulation on Disclosure of Information by Issuers of Securities No. 11-46/pz-n dated
October 4, 2011, the issuer is not required to disclose information at the stages of issuance.

State registration of the issuance (additional issuance) of securities is not accompanied by the registration of
a securities prospectus.

Information is not disclosed through publication in a periodic print publication(s).

Information is disclosed by publishing it on a webpage on the Internet.
The address of such a webpage on the Internet: http://www.reestrrn.ru

The issuer and/or the registrar maintaining the register of the issuer’s registered securities holders, upon
request of an interested party, must provide them with a copy of this decision on the issuance (additional
issuance) of securities for a fee not exceeding the cost of its production.

12. Information on ensuring the fulfillment of obligations under the bonds of the issue (additional
issue):

This applies only to bonds.

13. The issuer's obligation to ensure the rights of securities holders in compliance with the procedure
established by the legislation of the Russian Federation for exercising these rights:

The issuer undertakes to ensure the rights of securities holders in compliance with the procedure established
by the legislation of the Russian Federation for exercising these rights.

14. The obligation of persons providing security for the bonds to ensure the fulfillment of the issuer's
obligations to the bondholders in the event of the issuer's refusal to fulfill obligations or delay in
fulfilling the corresponding obligations under the bonds, in accordance with the terms of the provided
security:

This applies only to bonds.

15. Other information provided by the Standards:

If the start date of the placement or other deadlines defined by this Decision on the issuance of securities falls
on a weekend or holiday, the deadlines are determined in accordance with the Civil Code of the Russian
Federation.

                                                                                                   Page 11 of 11
Case 1:24-cv-03287-AT   Document 88-2    Filed 11/19/24       Page 45 of 61
                                                           [Translated from Russian]




                                  Numbered, bound, sealed and signed
                                  [handwritten: thirteen] pages
                                  CEO,
                                  OJSC “Krasnaya Polyana”
                                  [Signature] S.F. Hatskevich

                                  [Round seal: Russian Federation, Krasnodar Krai, the
                                  city of Sochi, Tsentralny District * State Registered
                                  Ownership (GRP) No. 8347 / Open Joint Stock
                                  Company “Krasnaya Polyana” * INN 2320102816]
         Case 1:24-cv-03287-AT                      Document 88-2            Filed 11/19/24      Page 46 of 61
                                                                                              [Translated from Russian]

               [Coat-of-arms of the Russian Federation]

                      Federal Service                                 Open Joint Stock Company
                   for Financial Markets                              “Krasnaya Polyana”
                     (FSFM of Russia)
                      Regional Office                                 14A Severnaya Street, City of Sochi, 354000
                   of the Federal Service
                   for Financial Markets
                  in the Prikuban Region
               (RO FSFM of Russia in PR)
              350020, Krasnodar, Dzerzhinsky St., 8/1,
                    Phone/Fax: +7 (861) 225-40-91
          E-mail: office@knd.fesm.ru; http://www.krd.ffms.ru
                        OGRN 1062309023655
                   INN/KPP 2309100283/230901001

      June 20, 2012, No. 18-12-MA-04/1944
     Ref. No. ___________ dated __________

Notification of State Registration of the
Report on the Results of the Additional Issue
of Securities of the Open Joint Stock
Company “Krasnaya Polyana”

     In accordance with the order of the RO FSFM of Russia in PR dated June 20, 2012,
No. 18-12-148/pz-i, state registration of the report on the results of the additional issue of common
registered uncertificated shares of the Joint-Stock Company “Krasnaya Polyana”, placed through
closed subscription, the state registration number of the issue 1-01-33085-E-006D dated March 05,
2012.
     According to the report on the results of the additional issue of securities submitted to the RO
FSFM of Russia in PR, the issuer has placed:
     Number of securities in the additional issue: 1,435 (one thousand four hundred amd thirty-five)
units.
     Nominal value of each security in the additional issue: 50,000 (fifty thousand) rubles.
     Total issue volume (at nominal value): 71,750,000 (seventy-one million seven hundred and fifty
thousand) rubles.
     Additionally, please be informed that the RO FSFM of Russia in PR is not responsible for the
accuracy of the information contained in the report on the results of the additional issue of securities.

    Enclosed is the report on the results of the additional issue of common registered uncertificated
shares of the Joint Stock Company “Krasnaya Polyana”, 9 pages, 2 copies.

Head                                                           [Signature]                                 M.K. Lvov
Executor: I.S. Veselov, phone (861) 225-40-91
       Case 1:24-cv-03287-AT          Document 88-2         Filed 11/19/24       Page 47 of 61
                                                                              [Translated from Russian]

                                                                           Registered on June 20, 2012

                                                                            RO FSFM of Russia in PR
                                                                                   (name of the registering authority)
                                                                         Head M.K. Lvov [Signature]
                                                                                  (signature of the authorized person)


                              [Round seal with the coat of arms of the Russian Federation, illegible]
                                                                             (official seal of the registering authority)




                     REPORT ON THE RESULTS
              OFTHE ADDITIONAL ISSUE OF SECURITIES

                         Open Joint Stock Company “Krasnaya Polyana”


             Common registered uncertificated shares with a nominal value of 50,000
(fifty thousand) rubles each, in the amount of 1,435 (one thousand four hundred and thirty-five)
                            units, placed through closed subscription

               State registration number of the issue (additional issue) of securities:
                                       1-01-33085-E-006D

              date of the state registration of the issue (additional issue) of securities:
                                            March 05, 2012

Approved by the resolution of the Board of Directors of Open Joint Stock Company “Krasnaya
Polyana” adopted on June 09, 2012. Protocol dated June 09, 2012, No. 117

Location of the issuer: 354000, Russian Federation, Krasnodar Krai, City of Sochi, Severnaya
Street, 14A
Contact phone numbers with intercity code: (8622)439110

CEO                   [Signature]                     S.F. Hatskevich

Date: June 09, 2012

Chief Accountant      [Signature]                     S.I. Belkova

Date: June 09, 2012

[Round seal: Russian Federation, Krasnodar Krai, the city of
Sochi, Tsentralny District * State Registered Ownership
(GRP) No. 8347 / Open Joint Stock Company “Krasnaya
Polyana” * INN 2320102816]
       Case 1:24-cv-03287-AT            Document 88-2        Filed 11/19/24      Page 48 of 61
                                                                              [Translated from Russian]

1. Type, category (class) of securities: Registered Shares

Category of shares: Common

2. Form of securities: Uncertificated

3. Method of securities placement: Closed Subscription

4. Actual securities placement period:

Actual start date of securities placement (date of the first agreement aimed at disposition of the
security (securities)): April 09, 2012

Actual end date of securities placement (date of the last entry made to the acquirer's personal
account (depository account) or the date the last securities certificate was transferred to the
acquirer): May 29, 2012

Date the joint stock company received the first application for the acquisition of securities in the
exercise of preemptive rights: April 09, 2012

Date the joint-stock company received the last application for the acquisition of securities in the
exercise of preemptive rights: April 09, 2012

5. Nominal value of each issued security (additional issue):

Nominal value of the issued security (in rubles): 50,000

6. Number of Securities Placed (units):

Number of securities actually placed (units): 1435

Number of securities actually placed and paid in cash (units): 1435

Number of securities actually placed and paid with other property (units): 0

Number of fractional shares placed and their total nominal value: 0

Number of securities actually placed during the exercise of preemptive rights for the acquisition of
additional shares or bonds (units): 1220
Fractional shares were not placed.

7. Price(s) of the Securities Placement:
         Placement Price                 Unit of                 Number of Securities Placed
    (RUB/foreign currency)            Measurement                at the Specified Price (units)
6,270,000                          Russian Rubles        1,435

                                                                                            Page 2 of 9
        Case 1:24-cv-03287-AT               Document 88-2           Filed 11/19/24        Page 49 of 61
                                                                                       [Translated from Russian]

8. Total Proceeds for the Placed Securities:

a) Total amount (value) of property in rubles (including cash in rubles, foreign currency at the exchange rate
of the Central Bank of the Russian Federation at the time of contribution, and the value of other property
(tangible and intangible assets) contributed in payment for the placed securities): 8,997,450,000

b) Amount of cash in rubles contributed in payment for the placed securities: 8,997,450,000

c) Amount of foreign currency, expressed in rubles at the exchange rate of the Central Bank of the Russian
Federation at the time of contribution (or the submission of a payment order to the bank for the transfer of
foreign currency to the bank account of the issuer or intermediary), contributed in payment for the placed
securities: 0

d) Value of other property (tangible and intangible assets), expressed in rubles, contributed in payment for the
placed securities: 0

9. The share of securities, non-placement of which would render the issuance (additional issuance) of securities
invalid:
The resolution on the issuance of securities does not provide for a share of securities, the non-placement of
which would render the issuance invalid.

10. The share of placed and unplaced securities of the issue (additional issue):

The share of placed securities of the issue (additional issue) as a percentage of the total number of issued
securities: 23.83

The share of unplaced securities of the issue (additional issue) as a percentage of the total number of issued
securities: 76.17

11. Major transactions by the issuer, as well as transactions in which the issuer had an interest, conducted
during the placement of securities:

According to the Federal Law "On Joint Stock Companies," transactions related to the placement of
common shares of the company via subscription are not considered major transactions. No transactions in
which the issuer had an interest and which, according to federal law requirements, required approval, were
conducted.

Information on persons registered in the issuer's shareholders register:

Full name: Krasnodar Krai, represented by Regional State Public Specialized Institution “State Property
Fund of Krasnodar Krai”

The following are registered in the issuer's shareholder register in the name of this entity:
a) Shares constituting at least 2 percent of the issuer's charter capital, indicating the share in the issuer's charter
capital
Share in the issuer's charter capital (%): 6.624
b) Common shares constituting at least 2 percent of the issuer's common shares, indicating the share of
common shares owned by this entity
                                                                                                           Page 3 of 9
        Case 1:24-cv-03287-AT              Document 88-2           Filed 11/19/24       Page 50 of 61
                                                                                     [Translated from Russian]

Share of common shares owned (%): 6.624

c) Registered securities convertible into the issuer's shares, where, after conversion, the total number of shares
registered in the name of the entity would constitute at least 2 percent of the issuer's charter capital, indicating
the share in the issuer's charter capital: No such share

d) Registered securities convertible into the issuer's common shares, where, after conversion, the total number
of common shares registered in the name of the entity would constitute at least 2 percent of the issuer's common
shares, indicating the share of common shares owned: No such share
Full Name: Limited Liability Company "Sberbank Capital"
The following are registered in the issuer's shareholder register in the name of this entity:
a) Shares constituting at least 2 percent of the issuer's charter capital, indicating the share in the
issuer's charter capital

Share in the issuer's charter capital (%): 50.029
b) Common shares constituting at least 2 percent of the issuer's common shares, indicating the share
of common shares owned by this entity

Share of common shares owned (%): 50.029

c) Registered securities convertible into the issuer's shares, where, after conversion, the total number
of shares registered in the name of the entity would constitute at least 2 percent of the issuer's charter
capital, indicating the share in the issuer's charter capital: No such share

d) Registered securities convertible into the issuer's common shares, where, after conversion, the total
number of common shares registered in the name of the entity would constitute at least 2 percent of
the issuer's common shares, indicating the share of common shares owned: No such share
Full Name: “Zeeland Development Corp.”

The following are registered in the issuer's shareholder register in the name of this entity:

a) Shares constituting at least 2 percent of the issuer's charter capital, indicating the share in the
issuer's charter capital:
Share in the issuer's charter capital (%): 23.736
b) Common shares constituting at least 2 percent of the issuer's common shares, indicating the share
of common shares owned by this entity:
Share of common shares owned (%): 23.736
c) Registered securities convertible into the issuer's shares, where, after conversion, the total number
of shares registered in the name of the entity would constitute at least 2 percent of the issuer's charter
capital, indicating the share in the issuer's charter capital: No such share
                                                                                              Page 4 of 9
        Case 1:24-cv-03287-AT               Document 88-2           Filed 11/19/24       Page 51 of 61
                                                                                      [Translated from Russian]

d) Registered securities convertible into the issuer's common shares, where, after conversion, the total
number of common shares registered in the name of the individual would constitute at least 2 percent
of the issuer's common shares, indicating the share of common shares held by them in the issuer: No
such share.
Full Name: Bilalov Magomed Gadzhievich
The following are registered in the issuer's shareholder register in the name of this individual:

a) Shares constituting at least 2 percent of the issuer's charter capital, indicating the share in the
issuer's charter capital:

Share in the issuer's charter capital (%): 17.461
b) Common shares constituting at least 2 percent of the issuer's common shares, indicating the share
of common shares owned:

Share of common shares owned (%): 17.461

c) Registered securities convertible into the issuer's shares, where, after conversion, the total number
of shares registered in the individual's name would constitute at least 2 percent of the issuer's charter
capital, indicating the share in the issuer's charter capital: No such share.

d) Registered securities convertible into the issuer's common shares, where, after conversion, the total
number of common shares registered in the individual's name would constitute at least 2 percent of
the issuer's common shares, indicating the share of common shares held in the issuer: no such share.

13. Information on individuals on the issuer's management bodies:
a) Members of the Board of Directors of the issuing joint stock company

Full Name: Sharov Valery Vladimirovich
Position held in the issuing joint stock company: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board of
directors (supervisory board) and/or other management bodies of commercial and non-commercial
organizations, as well as positions in state authorities and local government:
         Organization Name                      Organization Location                        Position Held
Regional State Public Specialized                                                 Chairman of the Regional State
                                      Russian Federation, 350020, Krasnodar,
Institution “State Property Fund of                                               Public Specialized Institution “State
                                      Krasnaya St., 176
Krasnodar Krai”                                                                   Property Fund of Krasnodar Krai”
                                      Russian Federation, 354000, Sochi, General
OAO "EFCATE"                                                                        Member of the Board of Directors
                                      Post Office, P.O. Box 1265
LLC "Radio and Television of          Russian Federation, 353900, Novorossiysk,
                                                                                    Member of the Board of Directors
Novorossiysk"                         Revolution of 1905 St., 19
                                      Russian Federation, 350036, Krasnodar,
OAO "Krayinvestbank"                                                                Member of the Board of Directors
                                      Mira St., 34
LLC "Management Company               Russian Federation, 353535, Temryuk
                                                                                    Member of the Board of Directors
TAMAN TERMINAL"                       District, Volna Settlement, Tamanskaya St., 8


                                                                                                        Page 5 of 9
       Case 1:24-cv-03287-AT           Document 88-2         Filed 11/19/24         Page 52 of 61
                                                                                 [Translated from Russian]

Share of the individual's participation in the issuer's charter capital (%): 0

Share of common shares of the issuer owned by the individual (%): 0

Share of the issuer's common shares into which the securities convertible into common shares owned
by the individual may be converted, expressed as a percentage of the total number of issued common
shares and the number of common shares into which the convertible securities may be converted (%):
0

Full Name: Kuznetsov Stanislav Konstantinovich
Position in the issuing joint stock company: Chairman of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board of
directors (supervisory board) and/or other management bodies of commercial and non-commercial
organizations, as well as positions in state authorities and local government:
 Organization Name          Organization Location                        Position Held
OJSC "Sberbank of Russian Federation, 117997,              Deputy Chairman of the Management
Russia"                Moscow, Vavilova St., 19            Board of OJSC "Sberbank of Russia"

Share of the individual's participation in the issuer's charter capital (%): 0

Share of common shares of the issuer owned by the individual (%): 0

Share of the issuer's common shares into which the securities convertible into common shares owned
by the individual may be converted, expressed as a percentage of the total number of issued common
shares and the number of common shares into which the convertible securities may be converted (%):
0

Full Name: Bilalov Magomed Gadzhievich
Position in the joint stock company – issuer: Deputy Chairman of the Board of Directors
The individual holds no positions in other organizations.

Share of the individual's participation in the issuer's charter capital (%): 17.461

Share of common shares of the issuer owned by the individual (%): 17.461

Share of the issuer's common shares into which the securities convertible into common shares owned
by the individual may be converted, expressed as a percentage of the total number of issued common
shares and the number of common shares into which the convertible securities may be converted (%):
0

Full Name: Romanov Aleksandr Vladimirovich
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board of
directors (supervisory board) and/or other management bodies of commercial and non-commercial
organizations, as well as positions in state authorities and local government:
                                                                                          Page 6 of 9
       Case 1:24-cv-03287-AT           Document 88-2         Filed 11/19/24         Page 53 of 61
                                                                                 [Translated from Russian]

          Organization Name                 Organization Location          Position Held
                                           Russian Federation,
State Corporation "Bank for                                       Deputy Director of the
                                           107996, Moscow,
Development and Foreign Economic                                  Infrastructure Department of
                                           Akademika Sakharova
Affairs (Vnesheconombank)"                                        Vnesheconombank
                                           Avenue, Building 9

Share of the individual's participation in the issuer's charter capital (%): 0

Share of common shares of the issuer owned by the individual (%): 0

Share of the issuer's common shares into which the securities convertible into common shares owned
by the individual may be converted, expressed as a percentage of the total number of issued common
shares and the number of common shares into which the convertible securities may be converted (%):
0

Full Name: Makhmutova Dilyara Zinnurova
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board
of directors (supervisory board) and/or other management bodies of commercial and non-
commercial organizations, as well as positions in state authorities and local government:
         Organization Name               Organization Location                 Position Held
                                      Russian Federation,            Deputy Director of the
State Corporation "Bank for
                                      107996, Moscow,                Department for Interaction with
Development and Foreign Economic
                                      Akademika Sakharova            the Agency for Strategic
Affairs (Vnesheconombank)"
                                      Avenue, Building 9             Initiatives at Vnesheconombank

Share of the issuer's charter capital held by the person (%): 0

Share of common shares of the issuer held by the person (%): 0
Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0
Full Name: Loktionov Nikolay Igorevich
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board
of directors (supervisory board) and/or other management bodies of commercial and non-
commercial organizations, as well as positions in state authorities and local government:
  Organization Name Organization Location                              Position Held
                          Russian Federation,       Permanent Representative of the Republic of
Government of the         655017, Republic of       Khakassia - Deputy Head of the Republic of
Republic of Khakassia Khakassia, Abakan,            Khakassia (Chairman of the Government of the
                          Lenin Avenue, 67          Republic of Khakassia)

                                                                                               Page 7 of 9
       Case 1:24-cv-03287-AT          Document 88-2         Filed 11/19/24      Page 54 of 61
                                                                             [Translated from Russian]

Share of the issuer's charter capital held by the person (%): 0

Share of common shares of the issuer held by the person (%): 0

Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0

Full Name: Khachaturiants Ashot Rafailovich
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board
of directors (supervisory board) and/or other management bodies of commercial and non-
commercial organizations, as well as positions in state authorities and local government:
         Organization Name                  Organization Location                 Position Held
Limited Liability Company             Russian Federation, 117997,
                                                                            Chief Executive Officer
“Sberbank Kapital”                    Moscow, Vavilova Street, 19
                                      Russian Federation, 115054,           Member of the Board
OJSC Oil Company “RussNeft”
                                      Moscow, Pyatnitskaya Street, 69 of Directors

Share of the issuer's charter capital held by the person (%): 0

Share of common shares of the issuer held by the person (%): 0

Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0

Full Name: Kaplun Evgeniy Zinovyevich
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board
of directors (supervisory board) and/or other management bodies of commercial and non-
commercial organizations, as well as positions in state authorities and local government:
   Organization Name                   Organization Location                    Position Held
                              Russian Federation, 354207, Krasnodar Member of the Board of
OJSC “Olympic Resort -
                              Krai, Sochi, Dagomys, Leningradskaya Directors
Dagomys”
                              St., 7A                                    Chief Executive Officer
OJSC                          Russian Federation, 350007,                Member of the Board of
“Krasnodargorgaz”             Krasnodar, Industrialnaya St., 68          Directors
                                                                         Member of the Board of
                              Russian Federation, 354000, Krasnodar
LLC "Sochi Plaza"                                                        Directors
                              Krai, Sochi, Kurortny Prospect, 18
                                                                         Chief Executive Officer
Share of the issuer's charter capital held by the person (%): 0
                                                                                          Page 8 of 9
       Case 1:24-cv-03287-AT          Document 88-2         Filed 11/19/24      Page 55 of 61
                                                                             [Translated from Russian]

Share of common shares of the issuer held by the person (%): 0

Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0

Full Name: Pierre Daoud Rezko
Position in the joint stock company – issuer: Member of the Board of Directors

Information on positions held in other organizations, including positions as a member of the board
of directors (supervisory board) and/or other management bodies of commercial and non-
commercial organizations, as well as positions in state authorities and local government:
         Organization Name               Organization Location                 Position Held
                                      UAE, Abu Dhabi, post           Senior Vice President of the
Abu Dhabi Investment Company
                                      code 46309                     Real Estate Department

Share of the issuer's charter capital held by the person (%): 0

Share of common shares of the issuer held by the person (%): 0

Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0

b) A collegial executive body is not provided for in the Charter.

c) The person holding the position (performing the functions) of the sole executive body of the
issuing joint stock company:
Full name: Khatskevich Stanislav Feliksovich
Position in the issuing joint stock company: Chief Executive Officer
This person does not hold positions in other organizations.

Share of the issuer's charter capital held by the person (%): 0

Share of common shares of the issuer held by the person (%): 0

Share of common shares of the issuer into which the securities convertible into common shares held
by the person can be converted, as a percentage of the total number of issued common shares and the
number of common shares into which the securities convertible into common shares of the issuer can
be converted (%): 0

                                                                                           Page 9 of 9
Case 1:24-cv-03287-AT   Document 88-2    Filed 11/19/24       Page 56 of 61
                                                           [Translated from Russian]




                                  Numbered, bound, sealed and signed
                                  9 nine pages
                                  CEO,
                                  OJSC “Krasnaya Polyana”
                                  [Signature] S.F. Hatskevich
                                  June 09, 2012

                                  [Round seal: Russian Federation, Krasnodar Krai, the
                                  city of Sochi, Tsentralny District * State Registered
                                  Ownership (GRP) No. 8347 / Open Joint Stock
                                  Company “Krasnaya Polyana” * INN 2320102816]
       Case 1:24-cv-03287-AT           Document 88-2        Filed 11/19/24      Page 57 of 61
                                                                             [Translated from Russian]

                          Securities Purchase and Sales Agreement No. 6
City of Sochi                                                                             May 23, 2012
Open Joint Stock Company “Krasnaya Polyana,” hereinafter referred to as Party 1, represented by
the General Director Stanislav Feliksovich Hatskevich, acting on the basis of the Charter, on the one
hand, and Joint Stock Company “Zeeland Development Corp.”, registration certificate No. 1528745
dated April 17, 2009, registration authority: Registrar of Companies of the British Virgin Islands
(Tortola, British Virgin Islands), hereinafter referred to as Party 2, represented by Director Toomas
Truuvert, acting on the basis of the Charter and a power of attorney certificate, on the other hand,
jointly referred to as the Parties, have entered into this agreement on the following terms.
                                 I. SUBJECT OF THE AGREEMENT
1.1. Party 1 transfers securities to the ownership of Party 2, and the latter undertakes to accept the
said assets into its ownership and pay for them.
1.2. The securities being disposed are transferred as part of the placement (disposal of securities to
their first acquirer) of additional common registered uncertificated shares of Open Joint Stock
Company “Krasnaya Polyana” by means of closed subscription.
1.3. At the time of the conclusion of this agreement, the additional issue of the securities being
disposed has undergone state registration.
1.4. Details of the securities that are the subject of this agreement:
     • Issuer: Open Joint Stock Company “Krasnaya Polyana”;
     • Type of securities: common registered uncertificated shares (hereinafter referred to as
        the securities);
     • State registration number of the additional issue of securities: 1-01-33085-E-006D;
     • Authority that performed the state registration of this additional issue of securities: RO FFMS
        Russia in PR;
     • Date of state registration of the additional issue of securities: March 05, 2012;
     • Nominal value of each security in the additional issue: 50,000 (Fifty Thousand) rubles;
     • Quantity: 215 (two hundred fifteen) units.
                     II. PRICE AND PAYMENT UNDER THE AGREEMENT
2.1. The securities, which are the subject of this agreement, are disposed at a price of 6,270,000 (Six
million two hundred seventy thousand) rubles per security. The total value of the securities alienated
under this agreement amounts to 1,348,050,000 (One billion three hundred forty-eight million fifty
thousand) rubles.
2.2. Payment for the acquired securities shall be made by Party 2 by transferring funds to the account
of Party 1 specified in this agreement, no later than the deadline established by the decision on the
additional issue of securities.
                                   III. OBLIGATIONS OF PARTY 1
3.1. Party 1 undertakes, after receiving full payment for the securities being disposed, to take the
necessary actions to register Party 2's ownership rights to the securities, which are the subject of this
agreement.
3.2. Ownership of the securities transfers to Party 2 at the moment

Party 1:        [Signature]                                                  Party 2        [Signature]
        Case 1:24-cv-03287-AT           Document 88-2         Filed 11/19/24      Page 58 of 61
                                                                               [Translated from Russian]

of entry into the Register of Owners of Registered Securities of Open Joint Stock Company “Krasnaya
Polyana.”
The maintenance of the Register of Owners of Registered Securities of Open Joint Stock Company
“Krasnaya Polyana” is carried out by the registrar, LLC "ReestrRN" (Location of the registrar: 350911,
Russian Federation, Krasnodar, Tramvaynaya St., 1/1, office 608, contact telephone: (861) 234-52-
01, FFMS of Russia license for registry services No. 10-000-1-00330, issued on December 16, 2004,
termless).
Party 1 undertakes to provide Party 2 with an extract from the Register of Owners of Registered
Securities of Open Joint Stock Company “Krasnaya Polyana” within five (5) days from the transfer
of ownership, reflecting the details of the transfer of rights to the securities.
3.3. If Party 2 fails to fulfill its obligation to pay for the acquired securities in full or in part within
the time period specified in this agreement, Party 1 will not take any actions related to the
registration of Party 2's ownership rights to the securities. In such a case, Party 1 undertakes to
return the funds received from Party 2 for the securities, no later than five (5) business days after
the end of the placement period for the additional issue of securities.
                                      IV. OBLIGATIONS OF PARTY 2
4.1. Party 2 undertakes to pay for the acquired securities in accordance with the terms, amounts, and
deadlines established by this agreement and the decision on the additional issue of securities.
                                     V. LIABILITY OF THE PARTIES
5.1. The parties shall act in compliance with the laws of the Russian Federation when executing this
agreement.
5.2. In the event of non-performance or improper performance of this agreement, the party causing
losses shall be exempt from liability only in cases of force majeure.
5.3. Compensation for damages does not release the responsible party from proper performance of its
obligations under this agreement (except in cases of termination of this agreement).
                                 VI. DURATION OF THE AGREEMENT
6.1. This agreement enters into force upon signing and remains in effect until the parties have fully
fulfilled their obligations under it.
                                          VII. FORCE MAJEURE
7.1. Upon the occurrence of force majeure circumstances beyond the reasonable foresight and control
of the Parties, the Parties are released from liability for obligations related to the full or partial non-
performance of this agreement for the duration of such circumstances.
7.2. The Parties have agreed to classify the following as force majeure circumstances:
- War and military actions, natural disasters, as well as acts of executive authorities of the Russian
Federation prohibiting actions that involve the subject matter of the agreement.
7.3. The Party affected by force majeure circumstances is obliged to take all necessary actions within
its power to minimize
       Case 1:24-cv-03287-AT          Document 88-2        Filed 11/19/24      Page 59 of 61
                                                                            [Translated from Russian]

the damage caused by such circumstances to both Parties, and if it fails to take the necessary measures
to preserve any assets under the control of the Parties, it shall compensate the other Party for these
losses.
               VIII. TERMINATION AND AMENDMENT OF THE AGREEMENT
8.1. The amendment and termination of this agreement may occur by mutual agreement of the parties.
8.2. All amendments and additions to this agreement, as well as the decision to terminate the
agreement by mutual consent of the Parties, shall be formalized in writing by signing a supplementary
agreement referencing this agreement, and signed by both Parties.
8.3. Termination of this agreement results in the termination of the Parties' obligations under it, but
does not release the Parties from liability for any breaches that occurred during the execution of this
agreement.
                                       IX. OTHER CONDITIONS
9.1. In the event of a dispute between the parties, it shall be settled through direct negotiations.
9.2. If the dispute is not resolved, it shall be submitted to the Arbitration Court of Krasnodar for
consideration.
9.3. This Agreement is executed in two copies, one for each Party, and each copy has equal legal
force.
                        X. DETAILS AND SIGNATURES OF THE PARTIES
Party 1:                                            Party 2:
Open Joint Stock Company                            Joint Stock Company “Zeeland Development
“Krasnaya Polyana”                                  Corp.”
Taxpayer Identification Number (INN):               Registration Certificate No. 152874 registration
2320102816, Tax Registration Reason Code            certificate No. 1528745 dated April 17, 2009,
(KPP): 232001001                                    registration body: Registrar of Companies of the
                                                    British Virgin Islands (Tortola, British Virgin
354000, Russian Federation, Krasnodar Krai,         Islands), Akara Bldg., 24 De Castro Street,
Sochi, ul. Severnaya, 14 A                          Wickhams Cay 1, Road Town, Tortola, British
                                                    Virgin Islands)
Phone (862)2439110                                  Bank account details:
Settlement account: 40702810700011521000            INN 30682, settlement account
                                                    40807810000002004500 at the Open Joint Stock
at OJSC “NBB”                                       Company “National Bank of Business
BIK: 044552902                                      Development” (OJSC “NBB”), cith of Moscow,
                                                    correspondent account 30101810800000000902
Correspondent Account:                              at Branch No. 5 of the Moscow GTU of the
30101810800000000902                                Central Bank of Russia, BIK 044552902

[Signature]    /S.F. Hatskevich/                            [Signature]    /Toomas Truuvert/

L.S. [Round seal: Russian Federation, Krasnodar L.S. [Round seal with the text in English:
Krai, the city of Sochi, Tsentralny District * State Corporate seal / BVI / Zeeland Development
Registered Ownership (GRP) No. 8347 / Open Corp.]
Joint Stock Company “Krasnaya Polyana” *
INN 2320102816]
Party 1    [Signature]                                                          Party 2   [Signature]
       Case 1:24-cv-03287-AT           Document 88-2          Filed 11/19/24      Page 60 of 61
                                                                               [Translated from Russian]



              Stitched, numbered, and sealed with signatures and stamps of both parties
                                          3 (Three) pages
Chief Executive Officer,                               Director,
Open Joint Stock Company                               Joint stock company “Zeeland
“Krasnaya Polyana”                                     Development Corp.”

      [Signature]         S.F. Hatskevitsch            [Signature]              Toomas Truuvert


L.S. [Round seal: Russian Federation, Krasnodar             L.S. [Round seal with the text in English:
Krai, the city of Sochi, Tsentralny District * State        Corporate seal / BVI / Zeeland
Registered Ownership (GRP) No. 8347 / Open                  Development Corp.]
Joint Stock Company “Krasnaya Polyana” *
INN 2320102816]
       Case 1:24-cv-03287-AT                      Document 88-2                Filed 11/19/24            Page 61 of 61
                                                                                                      [Translated from Russian]

   May 24, 2012                                          May 24, 2012
                                                                                                                        0401060
   Received by bank                                Debited from payer’s account



Payment Order No.                       10                         May 24, 2012                   Electronic

                                                                       Date                    Type of payment



Sum in words          One billion three hundred forty-eight million fifty thousand rubles 00 kopecks



INN 30682                           KPP 775087001                     Sum                1348050000-00
JSC “ZEELAND DEVELOPMENT CORP.”
                                                                      Acc. No.           40807810000002004500
Payor
OJSC “NBB”                                                            BIK                044552902
CITY OF MOSCOW                                                        Acc. No.           30101810800000000902
Payor’s Bank
OJSC “NBB”                                                            BIK                044552902
CITY OF MOSCOW                                                        Acc. No.           30101810800000000902
Payor’s Bank
INN 2320102816         KPP                                            Acc. No.           40702810700011521000
OJSC “Krasnaya Polyana”
                                                                      Pay. type          01               Pay. due date
                                                                      Pay. purp.                          Pay. priority               6
Recipient                                                             Code                                Reserve
      {VO51030} Payment for the Purchase and Sale Agreement of Securities No. 6 dated May 23, 2012, for shares. VAT not applicable.


Payment purpose
                                                               Signatures                                      Bank notes
                                                                                                                [Logo]
                                               JSC “ZEELAND DEVELOPMENT CORP.”
                  L.S.                                                                                  Remote banking systems.
                                                                                                         Accepted by the bank:
                                                                                                        May 24, 2012, 17:25:40


                                         [Stamp: OJSC “NBB” / Correspondent
                                         account 30101810800000000902 / May
                                         24, 2012 / BIK 044552902 / Processed
                                         by: Zhemzhurova N.N.] [Signature]
